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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

                                        )
In re                                   )                   Chapter 11
                                        )
TOUGH MUDDER INC., et al., 1            )                   Case No. 20-10036 (CSS)
                                        )
                Debtors.                )                   Jointly Administered
                                        )
                                        )                   Objection Deadline:
                                        )                   March 16, 2020, at 4:00 p.m. (EDT)
                                        )                   Hearing Date:
                                        )                   March 23, 2020, at 2:00 p.m. (EDT)
                                        )
_______________________________________ )

    CHAPTER 11 TRUSTEE’S THIRD OMNIBUS MOTION FOR ENTRY OF AN ORDER
        (I) AUTHORIZING THE CHAPTER 11 TRUSTEE TO REJECT CERTAIN
      EXECUTORY CONTRACTS NUNC PRO TUNC TO MARCH 9, 2020, AND (II)
                         GRANTING RELATED RELIEF

                PARTIES RECEIVING THIS MOTION SHOULD LOCATE
                 THEIR NAMES AND THEIR CONTRACTS LISTED ON
                 EXHIBIT 1 TO THE PROPOSED ORDER, ATTACHED
                             HERETO AS EXHIBIT A.

                Derek C. Abbott, Esq., the chapter 11 trustee (the “Trustee”) for Tough Mudder

Inc. (“Tough Mudder”) and Tough Mudder Event Production Inc. (“TM Events” and, together

with Tough Mudder, the “Debtors”), in the above-captioned chapter 11 cases (the “Chapter 11

Cases”) hereby moves (the “Motion”), pursuant to sections 105(a) and 365 of title 11 of the

United States Code (the “Bankruptcy Code”) and rules 6006 and 9014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), for entry of an order substantially in the form

attached hereto as Exhibit A (the “Proposed Order”): (i) authorizing the Trustee to reject, as

identified on Exhibit 1 of the Proposed Order, the executory contracts (each, a “Specified


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        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845).
        The Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
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Contract” and collectively, the “Specified Contracts”), effective as of March 9, 2020, and (ii)

granting related relief. In support of the Motion, the Trustee respectfully states as follows:

                                         JURISDICTION

               1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware, dated as of February 29, 2012. Venue is proper pursuant to 28

U.S.C. §§ 1408 and 1409. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

               2.      Pursuant to rule 9013-1(f) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), the Trustee consents to the entry of a final order by the Court in connection with this

Motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments in connection herewith consistent with Article III of the

United States Constitution.

               3.      The statutory bases for the relief requested herein are sections 105(a) and

365 of the Bankruptcy Code and Bankruptcy Rules 6006 and 9014.

                                  GENERAL BACKGROUND

               4.      On January 7, 2020 (the “Petition Date”), Valley Builders LLC,

Trademarc Associates, Inc., and David Watkins Homes Inc. filed involuntary petitions under

chapter 11 of the Bankruptcy Code against the Debtors.

               5.      A more detailed description of the Debtors’ business, corporate structure,

prepetition indebtedness, and events leading to the bankruptcy filings is set forth in the

Declaration of Kyle McLaughlin in Support of Chapter 11 Trustee’s Motion for Entry of an

Order (I) Approving Entry Into and Performance Under Asset Purchase Agreement by and



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Among Spartan Race, Inc., and Debtors’ Chapter 11 Trustee, (II) Authorizing the Sale of

Substantially All of the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances, and

Interests, (III) Approving the Assumption and Assignment of Certain Contracts and Related

Procedures, (IV) Approving the Bid Protections, and (V) Granting Related Relief (the

“McLaughlin Declaration”). 2 This Motion incorporates by reference the facts set forth in the

McLaughlin Declaration as if fully set forth herein.

               6.     On January 21, 2020, the Court entered the Order Directing the

Appointment of a Chapter 11 Trustee [D.I. 18].          The Court entered an order approving the

appointment of the Trustee on January 30, 2020 (the “Appointment Date”) [D.I. 24], and the

Trustee accepted his appointment on January 31, 2020 [D.I. 25]. Since that time, the Trustee has

managed the Debtors’ affairs pursuant to section 1106 of the Bankruptcy Code. No official

committee has been appointed in the Chapter 11 Cases.

               7.     On February 25, 2020, the Court entered the Order (I) Approving the Asset

Purchase Agreement by and Among Spartan Race, Inc., and Debtors’ Chapter 11 Trustee, (II)

Authorizing the Private Sale of Substantially All of the Debtors’ Assets Free and Clear of All

Liens, Claims, Encumbrances, and Interests, (III) Approving the Assumption and Assignment of

Assume Events and Contracts, and (IV) Granting Related Relief [D.I. 81] (the “Sale Order”).

The Sale Order authorizes the Trustee to sell substantially all of the Debtors’ assets (the “Sale”)

to Spartan Race, Inc. or its designee, which designee is OCR US Holdings, LLC (the “Buyer”)



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       The McLaughlin Declaration is attached as Exhibit C to the Chapter 11 Trustee’s Motion for
       Entry of an Order (I) Approving Entry Into and Performance Under Asset Purchase Agreement
       by and Among Spartan Race, Inc., and Debtors’ Chapter 11 Trustee, (II) Authorizing the Sale of
       Substantially All of the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances, and
       Interests, (III) Approving the Assumption and Assignment of Certain Contracts and Related
       Procedures, (IV) Approving the Bid Protections, and (V) Granting Related Relief [D.I. 30].


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pursuant to the terms of the asset purchase agreement attached to the Sale Order as Exhibit A

(the “Sale Agreement”). The Sale to the Buyer closed that same day.

                8.     The Debtors are party to a significant number of prepetition executory

contracts. Certain of the Debtors’ executory contracts were assumed by the Buyer under the Sale

Order and the terms of the Sale Agreement. In the Trustee’s exercise of his business judgment,

he believes that certain of the Debtors’ remaining executory contracts that were not assumed by

the Buyer, i.e. the Specified Contracts, are no longer necessary to the administration of the

Debtors’ estates and provide no meaningful value to the Debtors or their estates. In particular,

the Debtors no longer have any business use for, and therefore seek to reject, the Specified

Contracts that are the subject of this Motion.

                                     RELIEF REQUESTED

                9.     By this Motion, the Trustee respectfully requests entry of an order,

substantially in the form of the Proposed Order attached hereto as Exhibit A: (i) authorizing the

Trustee to reject the Specified Contracts nunc pro tunc to March 9, 2020, and (ii) granting related

relief.

                                      BASIS FOR RELIEF

I.        Rejection of the Specified Contracts reflects a sound exercise of the Trustee’s
          business judgment and should be authorized.

                10.    Section 365(a) of the Bankruptcy Code provides that a trustee may, with

court approval, assume or reject an executory contract.        11 U.S.C. § 365(a) (2018).       In

determining whether to approve a debtor’s request to assume or reject an executory contract,

courts generally defer to the trustee’s business judgment. NLRB v. Bildisco & Bildisco, 465 U.S.

513, 523 (1984) (stating that the traditional standard applied by courts to authorize the rejection

of an executory contract is that of “business judgment”); see also Delightful Music Ltd. v. Taylor


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(In re Taylor), 913 F.2d 102 (3d Cir. 1990); Glenstone Lodge, Inc. v. Buckhead Am. Corp. (In re

Buckhead Am. Corp.), 180 B.R. 83 (D. Del. 1995).

               11.    Courts generally will not second-guess a trustee’s business judgment

concerning rejection of an executory contract. See In re Trans World Airlines, Inc., 261 B.R.

103, 121 (Bankr. D. Del. 2001) (“A . . . decision to reject an executory contract must be

summarily affirmed unless it is the product of ‘bad faith, or whim or caprice.’” (quoting

Wheeling-Pittsburgh Steel Corp. v. W. Penn Power Co. (In re Wheeling-Pittsburgh Steel Corp.),

72 B.R. 845, 849–50 (Bankr. W.D. Pa. 1987))). The “business judgment” test is not a strict

standard; it merely requires a showing that either assumption or rejection of the executory

contract will benefit the debtor’s estate. NLRB v. Bildisco (In re Bildisco), 682 F.2d 72, 79 (3d

Cir. 1982) (noting that the “usual test for rejection of an executory contract is simply whether

rejection would benefit the estate”) aff’d, 465 U.S. 513 (1984). “Section 365 enables the trustee

to maximize the value of the debtor’s estate by assuming executory contracts that benefit the

estate and rejecting those that do not.” L.R.S.C. Co. v. Rickel Home Ctrs., Inc. (In re Rickel

Home Ctrs., Inc.), 209 F.3d 291, 298 (3d Cir. 2000); see also Stewart Title Guar. Co. v. Old

Republic Nat’l Title Ins. Co., 83 F.3d 735, 741 (5th Cir. 1996) (holding that section 365 of the

Bankruptcy Code “‘allows a trustee to relieve the bankruptcy estate of burdensome agreements

which have not been completely performed’” (quoting Phoenix Expl., Inc. v. Yaquinto (In re

Murexco Petroleum, Inc.), 15 F.3d 60, 62 (5th Cir. 1994))).

               12.    Under the circumstances, the rejection of the Specified Contracts is an

appropriate exercise of the Trustee’s business judgment that will reduce financial, administrative,

and other burdens on the Debtors’ estates. The Trustee has been winding down the Debtors’

affairs since the Appointment Date. The Debtors are not operating as a going concern, and



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therefore the Specified Contracts are no longer necessary to the Debtors’ business or otherwise in

connection with the administration of the Debtors’ estates. Further, the Specified Contracts are

agreements that, in many instances, the Trustee has determined are financially burdensome to the

Debtors and that appear to have no marketable value that could be generated through assumption

and assignment.        Accordingly, the Debtors’ continued performance under the Specified

Contracts would constitute an unnecessary depletion of value of the Debtors’ estates.

                 13.    For these reasons, the Court should authorize the Trustee to reject the

Specified Contracts.

II.    Rejection of the Specified Contracts nunc pro tunc to March 9, 2020, is warranted.

                 14.    The Court should authorize rejection of the Specified Contracts nunc pro

tunc to March 9, 2020, because the Trustee stated unequivocally his intention to reject the

Specified Contracts by filing the Motion. Courts in this district and elsewhere recognize that

nunc pro tunc rejection is appropriate where the balance of the equities favors such relief. See

SCS Co. v. Peter J. Schmitt Co., No. 94CV125, 1995 WL 1772010, at *2 (D. Del. May 15, 1995)

(noting that a bankruptcy court has authority to select a retroactive date for the effective date of a

lease’s rejection); In re Chi-Chi’s, Inc., 305 B.R. 396, 399 (Bankr. D. Del. 2004)

(acknowledging that a bankruptcy court may approve a rejection retroactive to the date the

motion is filed after balancing the equities in the particular case); In re Fleming Cos., 304 B.R.

85, 96 (Bankr. D. Del. 2003) (stating that rejection has been allowed nunc pro tunc to the date of

the motion or the date the premises were surrendered); see also Thinking Machs. Corp. v. Mellon

Fin. Servs. Corp. #1 (In re Thinking Machs. Corp.), 67 F.3d 1021, 1028 (1st Cir. 1995) (finding

that, in the context of rejections of executory contracts, “bankruptcy courts may enter retroactive

orders of approval, and should do so when the balance of equities preponderates in favor of such

remediation”).
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               15.     The balance of equities favors the relief requested herein. Without a

retroactive date of rejection, contractual counterparties may attempt to assert additional

administrative expenses under the Specified Contracts. As stated above, the Trustee no longer

has use for such Specified Contracts, and maintaining the Specified Contracts would impose an

unnecessary burden on the Debtors’ estates. Therefore, the Trustee respectfully submits that it is

fair and equitable for the Court to order that the Specified Contracts be rejected retroactively as

of March 9, 2020.

III.   The Motion complies with Bankruptcy Rule 6006(f).

               16.     Bankruptcy Rule 6006(f) establishes requirements for a motion to reject

multiple executory contracts or unexpired leases that are not each between the same parties.

Bankruptcy Rule 6006(f) states, in relevant part, that such a motion shall:

                       (1) state in a conspicuous place that parties receiving the
               omnibus motion should locate their names and their contracts or
               leases listed in the motion;
                       (2) list parties alphabetically and identify the corresponding
               contract or lease;
                       (3) specify the terms, including the curing of defaults, for
               each requested assumption or assignment;
                       (4) specify the terms, including the identity of each
               assignee and the adequate assurance of future performance by each
               assignee, for each requested assignment;
                       (5) be numbered consecutively with other omnibus motions
               to assume, assign, or reject executory contracts or unexpired
               leases; and
                       (6) be limited to no more than 100 executory contracts or
               unexpired leases.

Fed. R. Bankr. P. 6006(f)(1)–(6).

               17.     The Trustee respectfully submits that this Motion complies with the

requirements of Bankruptcy Rule 6006(f) applicable to this Motion.




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IV.    The Trustee requests immediate relief and a waiver of the 14-day stay under
       Bankruptcy Rule 6004(h).

               18.     Pursuant to Bankruptcy Rule 6004(h), the Trustee seeks a waiver of any

stay of the effectiveness of the Proposed Order, to the extent that it applies to the relief requested

in the Motion. Bankruptcy Rule 6004(h) provides that “[a]n order authorizing the use, sale, or

lease of property other than cash collateral is stayed until the expiration of 14 days after entry of

the order, unless the court orders otherwise.” Fed. R. Bankr. P. 6004(h). The relief requested

herein is essential to avoid the potential accrual of unnecessary administrative expenses.

Accordingly, the Trustee submits that, to the extent Bankruptcy Rule 6004(h) applies, ample

cause exists to justify a waiver of the 14-day stay.

                                  RESERVATION OF RIGHTS

               19.     Nothing contained herein is intended or shall be construed as: (i) an

admission as to the validity, amount or priority of any claim against the Debtors; (ii) a waiver of

the Trustee’s rights to dispute any claim; (iii) a promise or requirement to pay any claim; (iv) a

waiver of any claim or cause of action of the Trustee that exists against any entity; (v) a

ratification or assumption of any agreement, contract, or lease under section 365 of the

Bankruptcy Code; (vi) a waiver of limitation of the Trustee’s rights under the Bankruptcy Code,

any other applicable law, or any agreement; or (vii) an admission or concession by the Trustee

that any lien is valid, and the Trustee expressly reserves and preserves his rights to contest the

extent, validity, or perfection, or seek avoidance of, any lien.

                                              NOTICE

               20.     A copy of this Motion will be served via hand delivery, first-class mail,

and/or electronic mail, where available and as applicable, upon: (a) the Office of the United

States Trustee for the District of Delaware; (b) the Debtors’ 20 largest unsecured creditors on a


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consolidated basis; (c) all counterparties to a Specified Contract; and (d) any other party that has

requested notice pursuant to Local Rule 2002-1(b). The Trustee submits that, in light of the

nature of the relief requested, no other or further notice need be provided.

                                         CONCLUSION

               WHEREFORE, the Trustee respectfully requests that the Court enter an order

substantially in the form of the Proposed Order attached hereto as Exhibit A and grant such

other relief as is just and proper under the circumstances.


 Dated: March 9, 2020                  MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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                                       Chapter 11 Trustee to Tough Mudder Inc. and
                                       Tough Mudder Event Production Inc.




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